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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

NATIONAL COUNCIL OF
NONPROFITS, et al.,

Plaintiffs,ex.
                                          Case No. 25-cv-239
v.

OFFICE OF MANAGEMENT AND
BUDGET, et al.,

Defendants.



           PLAINTIFFS’ OPPOSITION TO PRO SE MOVANT’S
        MOTION TO INTERPLEAD AND REQUEST TO VACATE TRO

      Beatrice Adams, pro se, has filed a motion on behalf of herself and those

similarly situated to become involved in this case. Ms. Adams appears to seek to

interplead under Federal Rule of Civil Procedure 22; intervention under Rule 24; and

vacatur of the temporary restraining order this Court has entered. Because Ms.

Adams’s interests are not properly before the Court in this case, her motion should

be denied.

                                BACKGROUND

      On January 28, Plaintiffs brought this APA action challenging Office of

Management and Budget Memo M-25-13 (the “Freeze Order”), which purported to

order all federal agencies to freeze the obligation and disbursement of all federal

financial assistance. That same day, this Court entered an administrative stay

ordering Defendants to refrain from implementing the Freeze Order with respect to

the disbursement of federal funds under all open awards. Order at 4–5 (Jan. 28,

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2025), ECF No. 13. The next day, Ms. Adams filed her “Notice of Motion to Interplead

for the Common Cause and Request to Vacate Temporary Restraining Order (TRO)

Issued January 28, 2025.” ECF No. 19. Ms Adams expresses her concern that child

welfare funds “incentivize the removal of children from their families” and their

placement into foster care, and believes that those funds should therefore remain

frozen. Id. at 2.

      On February 3, this Court denied the government’s motion to dismiss and

entered a temporary restraining order enjoining Defendants from implementing,

giving effect to, or reinstating under a different name the directives in the Freeze

Order with respect to the disbursement of federal funds under all open awards. Mem.

Op. & Order at 29 (Feb. 3, 2025), ECF No. 30. As of this filing, briefing on Plaintiffs’

motion for a preliminary injunction is ongoing.

                                LEGAL STANDARD

      “Courts must construe pro se filings liberally.” Richardson v. United States,

193 F.3d 545, 548 (D.C. Cir. 1999).

                                      ARGUMENT

 I.   Interpleader Is Improper

      “Interpleader allows a party exposed to multiple claims on a single obligation

or property to settle the controversy and satisfy his obligation in one proceeding.”

Commercial Union Ins. Co. v. United States, 999 F.2d 581, 583 (D.C. Cir. 1993). For

example, “[w]here a party in control of contested property, the stakeholder, makes no

claim on the property and is willing to release it to the rightful claimant, interpleader




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allows him to put the money or other property in dispute into court, withdraw from

the proceeding, and leave the claimants to litigate between themselves the ownership

of the fund in court.” Id. (internal quotation marks and citations omitted). Thus,

Rule 22 permits interpleader only by a plaintiff or a defendant. Fed. R. Civ. P.

22(a)(1), (2).

       Because Ms. Adams is neither a plaintiff nor a defendant here, and because

this case does not address a contested property or obligation, interpleader is

inapplicable. Although Ms. Adams’s motion is titled as one for interpleader, under

the liberal pleading standards that attach to pro se filings, this Court should properly

interpret it as one for intervention.

II.    Intervention Is Improper

       Even when construed as a motion for intervention, however, the motion should

be denied. Under Rule 24(a), a party may intervene as of right if they, on a timely

motion, “claim[] an interest relating to the property or transaction that is the subject

of the action, and [are] so situated that disposing of the action may as a practical

matter impair or impede the movant’s ability to protect [their] interests, unless

existing parties adequately represent that interest.” Fed. R. Civ. P. 24(a)(2).

       Here, Ms. Adams focuses on the propriety of funding foster care as a policy

matter—a concern very attenuated from the legal challenge at hand, which addresses

whether the Freeze Order was arbitrary and capricious, issued in excess of statutory

authority, and was contrary to the First Amendment. Ms. Adams claims that placing




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children in foster care violates several laws and regulations. 1 If she believes that to

be the case, she may bring them as separate challenges; there is no reason to combine

them with this narrow APA matter. Moreover, the government has shown itself

willing to vigorously defend this lawsuit, and so Ms. Adams’s interests, to the extent

they fall within the confines of this suit, are adequately represented.

      Permissive intervention under Rule 24(b) is likewise unwarranted. A court

may permit intervention on a timely motion if that party “has a claim or defense that

shares with the main action a common question of law or fact.” Fed. R. Civ. P.

24(b)(1)(B). The legal authorities on which Ms. Adams relies are quite dissimilar

from the APA; there is no common question of law here, nor of fact. As a result, the

relief Ms. Adams requests—vacatur of the TRO, the appointment of a special master,

and further oversight into federal child welfare funding—are unwarranted in this

matter.

                                   CONCLUSION

      Plaintiffs respectfully request that the Court deny Ms. Adams’s motion. 2




1
  Ms. Adams also notes that she has been deprived of contact with her child because
she was wrongfully placed into “this scheme.” Mot. at 3. Although Ms. Adams alleges
a serious injury, she has not shown that it has any relation to the question of whether
federal grant funding continues to flow. Ms. Adams does allege that “[i]f this funding
did not exist, hundreds of thousands of children would be returned home or placed
with kinship caregivers,” id. at 2, but she offers no rationale to plausibly support that
speculation.
2
 Plaintiffs understand that, should the Court deny Ms. Adams’s motion, they need
no longer serve Ms. Adams with subsequent filings. Plaintiffs respectfully request
that the Court offer clarification if that is not the case.

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Dated: February 12, 2025       Respectfully submitted,

                               /s/ Jessica Anne Morton
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                           CERTIFICATE OF SERVICE

      On February 12, 2025, I caused the foregoing and proposed order to be filed

electronically via the Court’s CM/ECF system, which provides electronic notice to all

counsel of record. I further caused those documents to be served on pro se movant

Beatrice Adams at the mailing address she has entered on the record.


Dated: February 12, 2025                     /s/ Jessica Anne Morton
                                             Jessica Anne Morton




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